                 Case 1:19-cv-00384-ELH Document 150 Filed 02/19/21 Page 1 of 2



                                   UNITED STATES DISTRICT COURT
                                      DISTRICT OF MARYLAND
          CHAMBERS OF                                                                    101 WEST LOMBARD STREET
     DEBORAH L. BOARDMAN                                                                BALTIMORE, MARYLAND 21201
UNITED STATES MAGISTRATE JUDGE                                                                   (410) 962-7810
                                                                                              (410) 962-2577 FAX
                                                                                       MDD_DLBChambers@mdd.uscourts.gov


                                                February 19, 2021


       RE: Estate of Malcolm Bryant v. Baltimore Police Department
           ELH-19-384

                                               LETTER ORDER

       Dear Counsel,

                The parties and counsel for witness Lauren Lipscomb have filed letters regarding their
       disagreement about the length of Ms. Lipscomb’s deposition. ECF 147–49. The parties ask the
       Court to permit a seven-hour deposition, in which they each could question Ms. Lipman for 3.5
       hours. Plaintiffs argue that “Ms. Lipscomb is a key witness” who “serves as the Chief of the
       Conviction Integrity Unit for the State’s Attorney for Baltimore City (CIU) and oversaw the 2016
       CIU reinvestigation of Toni Bullock’s murder, which resulted in the State’s Attorney finding
       Malcolm Bryant actually innocent and agreeing to vacatur of his conviction.” Pls.’ Ltr. 1. They
       insist they need the full seven hours to question Ms. Lipscomb about the interviews of Tyeisha
       Powell and other witnesses that she conducted as part of the 2016 reinvestigation, as well as about
       the State’s Attorney’s production of the trial file. Id. at 2. Ms. Lipscomb argues that no more than
       3.5 hours are necessary to question her about non-privileged, relevant matters and that any longer
       deposition would be unduly burdensome in light of the hours Ms. Lipscomb has already spent
       responding to discovery requests in this case to which she is not a party.

               Rule 30 limits a deposition to “one day of 7 hours,” unless the parties stipulate otherwise
       or the Court orders otherwise. Fed. R. Civ. P. 30(d)(1). Rule 26 permits the Court to “alter the
       limits in these rules . . . on the length of depositions under Rule 30,” and Rule 26 permits the Court
       “for good cause, [to] issue an order to protect a party or person from undue burden.” Fed. R. Civ.
       P. 26(b)(2)(A), (c)(1). Having reviewed the parties’ filings, I do not find that Ms. Lipscomb has
       established good cause for limiting her deposition to 3.5 hours. Additionally, given the unique
       knowledge Ms. Lipscomb has about the reinvestigation and both parties’ need to depose her, I find
       that the seven hours allowed under the rules are appropriate.
        Case 1:19-cv-00384-ELH Document 150 Filed 02/19/21 Page 2 of 2



      Although informal, this is an Order of the Court and shall be docketed as such.

                                                          Sincerely,


                                                                  /S/
                                                          Deborah L. Boardman
                                                          United States Magistrate Judge

cc: Wendy Shiff
    Counsel for Lauren Lipscomb
